                                    Exhibit 6E
                      July 22, 2014 K. Orr Deposition Transcript




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      1                    KEVYN ORR, VOLUME 2                            1                     KEVYN ORR, VOLUME 2
      2            IN THE UNITED STATES BANKRUPTCY COURT                  2   STEPHEN C. HACKNEY, ESQ.
      3             FOR THE EASTERN DISTRICT OF MICHIGAN                  3   Kirkland & Ellis, LLP
      4                                                                   4   300 North Lasalle Street
      5                                                                   5   Chicago, Illinois 60654
      6                                                                   6      Appearing on behalf of Syncora.
      7   In Re:                )        Chapter 9                        7
      8                                                                   8
      9   CITY of DETROIT, MICHIGAN, )               Case No. 13-53846    9
     10                                                                  10   JEFFREY BEELAERT, ESQ.
     11               Debtor.       )    Hon. Steven Rhodes              11   Sidley Austin, LLP
     12   ____________________________                                   12   1501 K Street, N.W.
     13                                                                  13   Washington, D.C. 20005
     14                       VOLUME 2                                   14      Appearing on behalf of National Public Financing.
     15                                                                  15
     16        The Videotaped Deposition of KEVYN ORR,                   16
     17        in his personal capacity and as Rule 30(b)(6) witness,    17
     18        Taken at 2 Woodward Avenue,                               18   ERNEST J. ESSAD, JR., ESQ.
     19        Detroit, Michigan,                                        19   Williams, Williams, Rattner & Plunkett, P.C.
     20        Commencing at 9:10 a.m.,                                  20   380 North Old Woodward Avenue, Suite 300
     21        Tuesday, July 22, 2014,                                   21   Birmingham, Michigan 48009
     22        Before Leisa M. Pastor, CSR-3500, RPR, CRR.               22      Appearing on behalf of Financial Guaranty Insurance
     23                                                                  23      Company.
     24                                                                  24
     25                                                                  25

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      2    APPEARANCES:                                                   2   ALFREDO R. PEREZ, ESQ.
      3                                                                   3   Weil, Gotshal & Manges, LLP
      4    GREGORY M. SHUMAKER, ESQ.,                                     4   700 Louisiana Street, Suite 1700
      5    DAN T. MOSS, ESQ.                                              5   Houston, Texas 77002
      6    Jones Day                                                      6      Appearing on behalf of Financial Guaranty Insurance
      7    51 Louisiana Avenue, N.W.                                      7      Company.
      8    Washington, D.C. 20001                                         8
      9       Appearing on behalf of the Debtor.                          9
     10                                                                  10
     11                                                                  11   LISA SCHAPIRA, ESQ.
     12                                                                  12   Chadbourne & Parke, LLP
     13                                                                  13   30 Rockefeller Plaza
     14    ROBERT HERTZBERG, ESQ.                                        14   New York, New York 10112
     15    Pepper Hamilton, LLP                                          15      Appearing on behalf of Assured Guaranty Municipal
     16    4000 Town Center, Suite 1800                                  16      Corporation.
     17    Southfield, Michigan 48075                                    17
     18       Appearing on behalf of Debtor.                             18
     19                                                                  19
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       1                   KEVYN ORR, VOLUME 2                           1                      KEVYN ORR, VOLUME 2
       2       it's fair to say that they built on a lot of the other    2      out, correct?
       3       work that had been done in the prior almost year and a    3   A. Roughly the same, yes.
       4       half.                                                     4   Q. You have not altered the City charter; isn't that
       5   Q. That may be true, but you agree that they had a huge       5      correct?
       6       amount of work to do in a short period of time.           6   A. I cannot alter the City charter.
       7               MR. SHUMAKER: Object to form.                     7   Q. Okay, and the City does not have any specific proposed
       8   A. Yeah, I think that he had -- you know, the adjectives      8      changes to the City charter that are to be implemented
       9       can change. I think they had a significant amount of      9      in the near term, correct?
      10       work to do, but I think they built on a lot of work      10   A. Well, two things. The charter reformed process is
      11       that had already been done.                              11      extensive and expensive, the charter was just reformed
      12   BY MR. HACKNEY:                                              12      in 2012, so that's difficult. The statute does -- 436
      13   Q. And you agree they had a relatively short period of       13      does provide me with the opportunity to recommend
      14       time to do it?                                           14      either charter reforms or adoption of model charter
      15   A. Relative -- and this is why I'm trying to relay the       15      provisions, which we may do.
      16       time frame. If you go back to 2011 and this is all a     16   Q. Okay, you haven't as you sit here today, correct?
      17       continuum of time, then no, that's not accurate. If      17   A. I can't, I can't make any charter changes.
      18       you talk about solely from the formal retention of       18   Q. But you haven't made any proposed changes, correct?
      19       Conway MacKenzie till June, depending upon the amount    19              MR. SHUMAKER: Object to the form.
      20       of work that they had to do, I want to be very careful   20   BY MR. HACKNEY:
      21       not to follow your characterization because the          21   Q. You haven't proposed any changes?
      22       reality may be some of the work that they did was an     22   A. I haven't formally proposed any changes.
      23       extrapolation of work that had already been done.        23   Q. Okay, you haven't are disclosed to creditors your
      24   Q. If Chuck Moore testified that Conway MacKenzie was        24      proposed changes?
      25       drinking from a fire hose, would you have a basis to     25   A. That is true, yes, mm-hmm.

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       1                        KEVYN ORR, VOLUME 2                      1                      KEVYN ORR, VOLUME 2
       2       disagree with that characterization?                      2   Q. Okay, and you're not aware of any other proposed
       3   A. No.                                                        3       changes to the City charter that have been made public
       4                MR. SHUMAKER: Object to form.                    4       to the creditors?
       5   A. No, I think we all were.                                   5   A. Yes, I think that's true.
       6   BY MR. HACKNEY:                                               6   Q. At the outset of the bankruptcy you believe that a
       7   Q. Okay, what -- isn't it true that you negotiated the        7       regional water authority was in the best interests of
       8       first swaps agreement in a two-week period in early       8       the City and the DWSD's customers, correct?
       9       June of 2013?                                             9   A. Yes.
      10   A. Yes, I think that's fair.                                 10   Q. As things stand today, you have not been able to
      11   Q. Okay. That was the one where you agreed to pay            11       achieve that goal; isn't that correct?
      12       something in the neighborhood of $265 million,           12   A. As things stands today, yes, that's correct.
      13       correct?                                                 13   Q. Okay. And you have not had sufficient time to reach
      14   A. Yeah, I -- I think that's about the right amount.         14       agreement on a regional water authority; is that a
      15   Q. Mr. Orr, do you agree that the bankruptcy and your        15       fair statement?
      16       appointment as emergency manager represent an historic   16   A. The -- I continue to believe that a regional water
      17       opportunity for the City to revitalize itself?           17      authority is in the best interests of the City and its
      18   A. Yeah, I think that's fair.                                18      customers, including the Counties. The issues
      19   Q. Now, when the City went into bankruptcy, it had 13        19      regarding those negotiations are involved in
      20       units in 47 total bargaining -- 13 unions and 47 total   20      mediation, so I want to be very careful --
      21       bargaining unions -- units; is that correct?             21   Q. Yeah.
      22   A. Well, if you count the subunions and locals, it was       22   A. -- about where things -- but I think it is fair to say
      23       significantly more than that, but that's -- that's       23      that as it stands here today we have not reached
      24       approximately correct.                                   24      agreement on a regional water authority.
      25   Q. Okay, and that's how many it will have when it comes      25   Q. You don't have to tell me what the discussions are at


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      1                       KEVYN ORR, VOLUME 2                        1                    KEVYN ORR, VOLUME 2
      2        a specific level and I think you can't under the          2   A. I think that's fair.
      3        mediation order --                                        3   Q. Okay.
      4    A. Right.                                                     4   A. Mm-hmm.
      5    Q. -- but is it fair to say that the -- that the concept      5   Q. Does that remain a possibility as you stand here today
      6        of a regional authority is currently the subject of       6      that the plan may include a regional water authority
      7        mediation and explains why you can't talk about it?       7      that does those two things?
      8                   MR. SHUMAKER: I think that gets into the       8   A. I think I need to be a little careful on those issues.
      9        content of the mediation and, therefore, I think falls    9   Q. Okay.
     10        within the mediation --                                  10   A. So I'm going to defer from answering that question.
     11                   MR. HACKNEY: I mean, I think that any --      11   Q. Okay. On the grounds of the mediation order or --
     12        any fair privilege invocation, which is what the         12   A. Yes.
     13        mediation order is like, typically involves a            13   Q. Okay. So you don't know or you can't answer?
     14        disclosure of the general subject matter of the          14   A. I can't answer.
     15        mediation without the specific communications.           15   Q. Okay. You do know the answer to the question?
     16                   MR. SHUMAKER: Well, the question is           16   A. Yes.
     17        whether that's the only topic of the mediation or that   17   Q. But you cannot provide the answer?
     18        there are other alternatives. If -- if, for example,     18   A. Yes.
     19        that was the only thing going on, that would perhaps     19   Q. Okay. Now, isn't it true there has been no reduction
     20        reveal too much. You could -- you could say --           20      in the number of City departments from the time the
     21                   MR. HACKNEY: Okay.                            21      City went into bankruptcy to when it will come out,
     22                   MR. SHUMAKER: -- what different               22      correct?
     23        alternatives are being considered.                       23   A. I think that's true.
     24    BY MR. HACKNEY:                                              24   Q. There has been no reduction in the number of City
     25    Q. That's fine. What different alternatives are being        25      employees, correct?

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       1                    KEVYN ORR, VOLUME 2                          1                    KEVYN ORR, VOLUME 2
       2       considered or being negotiated?                           2   A. No, that is untrue.
       3   A. Let me be clear. We -- we have -- there is a common        3   Q. Okay, the number of City employees has gone down?
       4       interest privilege between my office and the City and     4   A. Yes.
       5       the State. There is the August 13th, 2013 order by        5   Q. Isn't it true that the plan anticipates that the City
       6       Judge Rhodes's mediation. There is an April 7th, 2013     6      will increase the total number of City employees as
       7       order appointing Judge Sean Cox as the mediator, and      7      compared to the level when it filed for bankruptcy?
       8       paragraph 4 of that order specifically obligates me to    8   A. You -- generally speaking, that's true. There are
       9       keep those discussions confidential. And so I want to     9      aspects in the plan that are speaking about optimum
      10       state very clearly I intend to observe the               10      staffing levels that may not have taken into account
      11       confidentiality, and the judge has since admonished      11      the reduction of force, but generally that's true.
      12       all parties to make sure they observe confidentiality    12   Q. Okay. Just to put it in plain English, the -- if the
      13       within those orders.                                     13      plan is confirmed and the restructuring and
      14              That being said, I think what I can say is        14      reinvestment initiatives are implemented as
      15       that the concept of a regional water authority and       15      anticipated, the City will have more employees
      16       discussions have been fairly widely reported in the      16      postconfirmation than it had when it went into
      17       press, and so I have no reason to disagree. Those        17      bankruptcy, correct?
      18       reports, while they may be inaccurate, I have no         18   A. I'm not sure that's accurate. I'd have to go back and
      19       reason to disagree with the subject matter of those      19      look at the numbers.
      20       reports.                                                 20   Q. Okay.
      21   Q. Do you remember that the prior theory around a            21   A. Okay.
      22       regional water authority was that it might both          22   Q. So --
      23       improve governance and unlock a payment stream for the   23   A. I'm just not sure that's an accurate -- I have no
      24       City, correct? That was what was disclosed in the        24      reason to believe that's an inaccurate statement.
      25       June 2013 proposal to creditors?                         25   Q. Well, that's okay, I'm not trying to sharp shoot you.


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       1                     KEVYN ORR, VOLUME 2                          1                   KEVYN ORR, VOLUME 2
       2   A. Yes, I think Mr. Buckfire is an expert in that area.        2   Q. Mr. Orr, welcome back from lunch.
       3   Q. And in this subject matter we're discussing of likely       3   A. Thank you, Mr. Hackney.
       4       rates of return, likely levels of risk, would you tend     4   Q. Okay. So Mr. Orr, you're aware that certain
       5       to defer to him in terms of his view?                      5      charitable foundations have agreed to contributed
       6   A. I would certainly solicit his view. His view is very        6      money to the City's pension obligations in exchange
       7       informed and very capable, but having been in the City     7      for the City conveying its art collection into a
       8       now for over a year, I certainly would want to be          8      public trust; is that correct?
       9       informed but ultimately it's -- I'd have to make a         9   A. Yes.
      10       call of keeping my own counsel.                           10   Q. And I take it if I ask you questions about your
      11   Q. Would you agree that lenders are tripping over             11      communications with the charitable foundations in
      12       themselves to lend the City money?                        12      connection with their agreement to contribute this
      13                MR. SHUMAKER: Object to the form.                13      money, you will refuse to answer on the grounds of the
      14   A. I think we've had -- you know, every time I use a          14      mediation order's confidentiality provisions; is that
      15       literation (sic) or metaphor, you quote it back to me,    15      correct?
      16       so I'm going to say that I think we've had a healthy      16   A. Yes, generally for most of them, I think that's
      17       amount of interest, and some people might well            17      correct.
      18       characterize that as tripping over themselves.            18   Q. And just for the record, you didn't have any such
      19   BY MR. HACKNEY:                                               19      conversations prior to the entry of the mediation
      20   Q. And there's a great deal of enthusiasm that you're         20      order which was at some point in September of 2013?
      21       finding from both investors and lenders, correct?         21   A. Yes, that's correct.
      22   A. That appears to be the case.                               22   Q. Okay.
      23   Q. And that's based on the substantial deleveraging that      23   A. Well, let me think. I think I had one meeting with
      24       the City's achieving through this plan, correct?          24      Darren Walker at Ford Foundation, but it was not about
      25   A. I think that --                                            25      a contribution, it was just a meet and greet.

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      1                      KEVYN ORR, VOLUME 2                          1                  KEVYN ORR, VOLUME 2
      2    Q. In part?                                                    2   Q. Okay.
      3    A. I think that is fair.                                       3   A. Okay?
      4    Q. You know, Mr. Orr, I've reached a good stopping point,      4   Q. Yeah, I saw that in the documents, and there were some
      5        I think.                                                   5      issues about the Ford Foundation and the building that
      6                   MR. SHUMAKER: Sure.                             6      they owned or something that --
      7                   MR. HACKNEY: There's a lot of people in         7   A. I didn't even get into all that.
      8        the room, but I kind of defer to you.                      8   Q. Okay.
      9                   THE WITNESS: No, I'm good, but if you guys      9   A. It was just hi, how are you, they were helping us with
     10        think that makes sense, we have a thing that we need      10      some grants, helping us stand up a grants
     11        to do.                                                    11      administrator.
     12                   MR. HACKNEY: What time?                        12   Q. So I guess I want to make a record of something I
     13                   MR. HERTZBERG: At 1:15 for 5 minutes.          13      understand from the City's position but it is the
     14                   THE WITNESS: Okay.                             14      City's position that communications with the
     15                   MR. HACKNEY: That will be perfect then,        15      foundation are either part of or incidental to the
     16        we'll take an hour for lunch, and then I'll see you at    16      mediation, correct?
     17        1:30.                                                     17              MR. SHUMAKER: I believe that's correct.
     18                   THE WITNESS: Okay.                             18      Again, I think you could fish outside the contours of
     19                   VIDEO TECHNICIAN: The time is now 12:31        19      those mediation talks but my understanding is that all
     20        p.m., we are now off the record.                          20      those talks were within the context of mediation.
     21                   (Recess taken at 12:31 p.m.)                   21   BY MR. HACKNEY:
     22                   (Back on the record at 1:36 p.m.)              22   Q. Yeah, I mean, I don't want to ask a hundred questions
     23                   VIDEO TECHNICIAN: The time is 1:36 p.m.,       23      today to establish what I think is relatively well
     24        we are back on the record.                                24      established, which is that you're not, generally
     25    BY MR. HACKNEY:                                               25      speaking, going to discuss your conversations with the


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       2       foundations, correct?                                     2   A. I think I have to.
       3   A. That is correct. You know, I may -- let me say this        3   Q. If I ask you did the foundations ever offer to
       4       generally. I may have had meetings with foundation        4      contribute money without insisting on transfer of the
       5       principals outside of the confines of the mediation,      5      art institute, you'll decline to answer that question,
       6       just hail-fellow-well-met, saw them at an event, how      6      correct?
       7       are you. There were no substantive conversations          7   A. I think I have to.
       8       about the contribution that did not occur outside of      8   Q. And if I ask you hey, who is it that imposed the
       9       the mediation order.                                      9      condition on the Grand Bargain that the art institute
      10   Q. And that's fine, because the only ones that I really      10      would be transferred, was it you, or was it them, or
      11       want to ask you about are ones that relate to the        11      was it Judge Rosen, you'll decline to answer those
      12       Grand Bargain?                                           12      questions, correct?
      13   A. Right, right.                                             13   A. I believe so.
      14   Q. And those would fall under the gambit of the              14   Q. Mr. Orr, has the Grand Bargain -- which you know what
      15       mediation?                                               15      I'm talking about, right?
      16   A. Those would fall under the gambit of mediation.           16   A. Yes, the money we talked about before, the 366 million
      17   Q. Now, if I asked you your state of mind based on what      17      from the foundations, a $350 million value settlement
      18       you understood the foundations to be willing to do or    18      from the State, and $100 million from the DIA
      19       what you thought they would be willing to do, you        19      benefactors as funneled through the Founders' Society.
      20       would also invoke the mediation order to the extent      20   Q. Correct, in exchange for the art -- in connection with
      21       his state of mind was created by communications of the   21      the art being -- the DIA being conveyed into a public
      22       foundation, correct?                                     22      trust, correct?
      23              MR. SHUMAKER: I think that's right because        23   A. Contributions targeted towards the two pension funds
      24       I don't see how he could give you his impressions or     24      with the condition that not one piece of art be sold
      25       his understanding without going into what was going on   25      or de-assessed as a result of this process.

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      1                     KEVYN ORR, VOLUME 2                          1                    KEVYN ORR, VOLUME 2
      2        in the mediation.                                         2   Q. And the purpose of the transfer to a public trust is
      3                MR. HACKNEY: Right, because he lacks              3      to ensure that the art is never sold to satisfy the
      4        foundation to speak to what the foundations thought.      4      claims of the City's creditors, correct?
      5        If I asked him what he understood them to have            5   A. Yes, now and forever, yes.
      6        thought, you'll take the position that it would be        6   Q. Not only current creditors but future ones, as well?
      7        based on what they told him?                              7   A. Correct.
      8                MR. SHUMAKER: Correct, it all would have          8   Q. So has the Grand Bargain, Mr. Orr, helped the COPs
      9        been derived from the mediation discussions.              9      holders to achieve a higher recovery?
     10                MR. HACKNEY: Okay, and so I'll just note         10   A. I don't think so.
     11        for the record, Mr. Shumaker, that this is the           11   Q. Mr. Orr, what are the principal terms of the LTGO
     12        position that Ms. Kofsky (ph.), a cop, took in a prior   12      settlement?
     13        deposition, and I understand the basis for it. I will    13   A. The LTGO settlement centers around a dedicated millage
     14        let you know that I don't necessarily agree with it      14      that's to extend for the next approximately 13 years,
     15        based on comments that Judge Rhodes made about how       15      and the terms of a settlement that roughly 26
     16        state of mind might work in the mediation context, but   16      percent -- oh, the LTGO, I'm sorry --
     17        it doesn't matter because I feel like we're not going    17   Q. Yeah.
     18        to work that out today anyway.                           18   A. Okay, I'm sorry, I'm going -- I thought you were just
     19                MR. SHUMAKER: Understood.                        19      talking about -- I'm doing it temporally --
     20    BY MR. HACKNEY:                                              20   Q. That's okay.
     21    Q. And I just want to understand you all's position on       21   A. I'm sorry.
     22        it. So just a couple big ones, if I ask you did you      22   Q. I'm hopping around.
     23        ever ask the foundations to contribute money with no     23   A. Okay.
     24        strings attached you'll decline to ask answer that       24   Q. Let's start over.
     25        question, correct?                                       25   A. Let's start over.


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       1                      KEVYN ORR, VOLUME 2                         1                    KEVYN ORR, VOLUME 2
       2       subject -- it was one of the drivers of our motion to      2   BY MR. HACKNEY:
       3       continue, but in fairness like I really may need to        3   Q. Okay, you do agree that the City has classified the
       4       come back and re-depose you on this when it's been         4      LTGO creditors as general unsecured?
       5       public for at least some period of time because it was     5   A. I believe that's our last classification, yes.
       6       in flux.                                                   6   Q. Okay, and that's the same classification as the COPs
       7   A. Let me say this, like I said, whatever's public I have      7      holders?
       8       no reason to believe whatever's been made public is        8   A. Yes.
       9       inaccurate, but I do know that they're continuing          9   Q. And you also agree that the LTGO bondholders are
      10       discussions regarding details of the settlement, so I     10      financial creditors like the COPs holders?
      11       just want to be very careful.                             11   A. Yes, I believe there's financial creditors as opposed
      12   Q. And you're also -- fair to say you're unwilling to say     12      to pensioners, for instance, yes.
      13       that the 55 million I alluded to represents the full      13   Q. Right, and in fact, many of them have monoline
      14       amount of what they're getting, correct?                  14      insurers standing behind the bond, correct?
      15   A. I have no reason to believe that's not -- there is         15   A. Yes.
      16       anything in addition to what you may have heard           16   Q. So you would agree there are a lot of similarities
      17       economically.                                             17      between the COP holder and the LTGO correct?
      18   Q. Okay. But are they only getting 55 million or not?         18   A. There are a lot of perhaps superficial similarities
      19   A. I have no reason to believe there's anything more than     19      but I think the allegations that have been made
      20       that.                                                     20      against the COP holders in the litigation raise other
      21   Q. Okay. Well --                                              21      dissimilarities between them.
      22   A. Based upon published reports.                              22   Q. And you're talking about the invalidity suit?
      23   Q. What is the basis for paying the LTGO 34 cents and         23   A. Yes.
      24       paying COPs holders 10 cents?                             24   Q. Okay, and you understand that the way the plan works
      25   A. Now, I do think we are getting into the mediation          25      is that the -- a reserve is set up for the COP holders

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       1                     KEVYN ORR, VOLUME 2                          1                    KEVYN ORR, VOLUME 2
       2       order.                                                     2      that represents what their total recovery could be?
       3   Q. Okay, so you're -- you'll decline to answer questions       3   A. Yes.
       4       about your basis for discriminating between those two      4   Q. And that's what their total recovery could be if they
       5       classes?                                                   5      prevail in the invalidity suit, correct?
       6   A. I think I have to.                                          6   A. Yes, a reserve over a period of time as opposed to a
       7   Q. Okay.                                                       7      hundred-and-X-million dollars of cash, yes.
       8                  MR. SHUMAKER: Well, you don't have to --        8   Q. Yeah. Well, it's actually a bunch of B notes that go
       9       you don't have to reveal the terms of the settlement.      9      into the reserve.
      10                  THE WITNESS: Right.                            10   A. That's what I said time, time wise, yes.
      11                  MR. SHUMAKER: But I think you could talk       11   Q. Okay, yeah. Now, are you aware of any other basis to
      12       in abstract, in the abstract about comparing the LTGO     12      distinguish the LTGO from the COPs other than the
      13       settlement with the COPs holders, which I think is        13      potential invalidity of the COPs and this argument
      14       what Mr. Hackney is getting at.                           14      that the LTGO have made that they are not an unsecured
      15   A. Well, let's do this, see if I can talk about it            15      creditor?
      16       generally and I'll try to just step it as we go           16   A. Am I aware?
      17       through it to see. I mean, I think it's fair to say       17   Q. Yeah.
      18       that that is a result of a negotiated solution in the     18              THE WITNESS: Am I aware?
      19       mediation process. I think it's fair to say there was     19   BY MR. HACKNEY:
      20       some give and take between the parties as to what         20   Q. Or do you have any other basis for discriminating
      21       potential claim was. I think it's been reported that      21      other than those two things?
      22       there was an argument made that that particular class     22              MR. SHUMAKER: I think you can answer that.
      23       of creditors had a different status than just general     23   A. Yes.
      24       unsecured, and that that status should have some level    24   BY MR. HACKNEY:
      25       of recognition. I think that's about all I can say.       25   Q. What is it?


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       1                     KEVYN ORR, VOLUME 2                         1                  KEVYN ORR, VOLUME 2
       2   A. I think that's caught up in the mediation.                 2      independent knowledge once it comes as a result of the
       3   Q. I'm not sure how that could be.                            3      mediation.
       4   A. Well, as I think I've said, there were negotiations,       4   Q. Understood, and you also can't say as to whether or
       5       there were positions taken. The awareness of what         5      not it's been a factor in your decision?
       6       those other bases could be came about typically as a      6   A. I -- I don't think I can other than what we've talked
       7       result of the mediation and reports provided to me out    7      about.
       8       of the mediation so I want to be careful about talking    8   Q. Mr. Orr, how did the City arrive at the calculation of
       9       about them, because that, I think is covered by the       9      the size of the OPEB claim that is contained in the
      10       mediation order.                                         10      current plan?
      11   Q. Okay, so the two grounds that I identified, invalidity    11   A. As contained in the current plan? Well, we did --
      12       and the arguable not unsecuredness of the LTGO are the   12      well, the City and our advisors in conjunction with
      13       only two that you can publicly discuss?                  13      the advisors of the -- of the funds did an analysis of
      14   A. I believe so.                                             14      the potential liability for retiree healthcare based
      15   Q. You would agree that the LTGO were not granted a lien     15      upon a number of factors including actuarial rates,
      16       in any City property, correct?                           16      longevity, objective factors such as anticipated rates
      17   A. I would agree that I have seen no documents               17      of healthcare spend as published by Michigan State
      18       memorializing a lien.                                    18      institutions and Federal Government institutions and
      19   Q. The difference between -- the difference that they        19      healthcare providers, number of objective criteria as
      20       allege is relevant is that they are to be considered     20      calculated with the number of retirees that we have
      21       quote/unquote a first budget item; isn't that correct?   21      and anticipate will have in the future.
      22   A. Here again, I think now we're starting to bump up         22   Q. And ultimately the ultimate number was the product
      23       against the mediation.                                   23      negotiation between the City and the retiree
      24   Q. So you're not able to answer that question either?        24      representative parties, correct?
      25   A. If -- I'd be happy to validate any public statements      25   A. Correct.

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       1                   KEVYN ORR, VOLUME 2                           1                   KEVYN ORR, VOLUME 2
       2       that you have, but I don't think I should be the one      2   Q. Now, you know that in connection with the City's
       3       speaking to that.                                         3      bankruptcy petition that it stated that it had $5.7
       4   Q. It's the subject of a declaratory complaint and like a     4      billion in OPEB; do you remember that number?
       5       pretty extensive motion to dismiss argument?              5   A. Yes, I do.
       6   A. Yeah, but I haven't necessarily been involved in the       6   Q. And do you agree that the $5.7 billion number includes
       7       legal aspects of that argument. Most of my                7      the present value of anticipated OPEB not only for
       8       information comes as a result of communications that      8      retirees but also for active employees, right?
       9       occur in the mediation.                                   9   A. Active employees who will retire.
      10   Q. Okay. All right, so you have not followed the give        10   Q. Right, it's sort of like it was the analog of the
      11       and take in the legal issue litigation?                  11      pension UAAL --
      12   A. As you might imagine I have not been keeping up with      12   A. Right.
      13       the over, as I understand it, almost 8,000 documents     13   Q. -- which is it looked not just at retirees but it also
      14       filed in the bankruptcy, but I have no -- let me ask     14      looked at active employees, what their costs will be
      15       answer it this way. I have no reason to dispute the      15      when they retire?
      16       allegations that are contained in the filings.           16   A. And yes --
      17   Q. By whom?                                                  17               MR. ALBERTS: Objection to form.
      18   A. By any party, whatever their allegations are, they        18   A. In the out-years, so for instance, someone who is an
      19       are.                                                     19      active employee today but will retire in 2015 will
      20   Q. Other than the reasons that you've put in your own        20      become a retiree in the out-years, yes.
      21       filings?                                                 21   BY MR. HACKNEY:
      22   A. Yes, whatever -- whatever's a public record, I have no    22   Q. And that OPEB number was in the 5.7 billion?
      23       reason -- in the bankruptcy case, there's no reason      23   A. I believe so.
      24       for me to dispute that parties have taken those          24   Q. Does the City believe that its retirees have a vested
      25       positions, I just can't speak to it of my own            25      right to healthcare benefits?


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      1                        KEVYN ORR, VOLUME 2                         1                    KEVYN ORR, VOLUME 2
      2    A. Yes.                                                         2      statements?
      3    Q. Okay. So it's fair to say that the Grand Bargain was         3   A. No.
      4        Judge Rosen's idea from your vantage point?                 4   Q. And do you remember that Judge Rosen also said that --
      5                   MR. SHUMAKER: Again, I think we're getting       5      for example, that Shirley Lightsey was one of the
      6        into --                                                     6      heroes of the bankruptcy?
      7                   MR. HACKNEY: Well, but --                        7   A. Yes.
      8                   MR. SHUMAKER: -- the guts of the                 8   Q. If I ask for the specifics of -- with respect to the
      9        mediation.                                                  9      foundations, who was approached, what they were asked,
     10                   MR. HACKNEY: I'm asking him about a public      10      which ones declined, which entities were approached,
     11        statement that the mediator made.                          11      who said yes, and the negotiations over the amount of
     12                   MR. SHUMAKER: If you're asking did the          12      any contribution, is it correct that you would decline
     13        public statement reflect that, he can answer that.         13      to answer those questions on the basis of the
     14                   MR. HACKNEY: I'm asking if the public           14      mediation order?
     15        statement was true.                                        15   A. Yes.
     16                   MR. SHUMAKER: Then that goes to what            16   Q. And if I asked you questions about the way the Grand
     17        actually occurred in the mediation and --                  17      Bargain was structured, you'll similarly decline,
     18                   MR. HACKNEY: Well, Mr. Shumaker, now I          18      correct?
     19        think you're being too selective about the mediation       19   A. Yes.
     20        order. I mean, you have the mediator standing up and       20   Q. And that would also apply with respect to DIA Corp.
     21        saying boom, and now I'm saying is that true, and          21      contributions, as well, correct?
     22        everyone says oh.                                          22   A. Yes.
     23                   MR. SHUMAKER: And I'm fine with you asking      23   Q. And that also would apply to the State contribution
     24        about the statements made in public by Judge Rosen.        24      that is connected to the Grand Bargain, correct?
     25        What I have an issue with is then asking the witness       25   A. Yes, except for any public statements.

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       1                     KEVYN ORR, VOLUME 2                           1                  KEVYN ORR, VOLUME 2
       2       whether it reflects what was occurring in the               2   Q. Have you ever visited the Charles H. Wright Museum
       3       mediation. There's a --                                     3      here in the City of Detroit?
       4                 MR. HACKNEY: Okay.                                4   A. Yes.
       5                 MR. SHUMAKER: -- a clear divide there.            5   Q. Do you consider that museum critical to the economic
       6   BY MR. HACKNEY:                                                 6      revitalization of the City?
       7   Q. So are you going to decline to answer that?                  7   A. I consider it critical to the cultural and historical
       8   A. Yes, and I would say I have no reason to dispute any         8      revitalization of the City, yes, I do.
       9       published reports and statements made by Judge Rosen.       9   Q. I was talking to the economic revitalization.
      10   Q. Okay, and Judge Rosen also described in that statement      10   A. It might well include the economic revitalization.
      11       that he had run into a member of -- of the -- a            11   Q. Is the DIA critical to the economic revitalization of
      12       foundation member in a deli near the courthouse; do        12      the City?
      13       you remember that, too?                                    13   A. Yes, I believe it is.
      14   A. Yes, Miriam Nolan.                                          14   Q. Okay, and which one's more important between the two,
      15   Q. Yes, and had talked to her about this idea, correct?        15      the Charles H. Wright Museum or the DIA museum when it
      16   A. Yes, I believe he said that.                                16      comes to the economic revitalization of the City?
      17   Q. Do you remember witnessing Judge Rosen saying that?         17   A. I don't -- I've done no analysis as to whether one is
      18   A. Yes.                                                        18      more important than the other. I think they are both
      19   Q. And Ms. Nolan has been quoted as saying that on the         19      important to the cultural and economic vitality of the
      20       basis of her conversation with Judge Rolan (sic), she      20      City.
      21       began to engage efforts to find whether other              21   Q. Which one has more visitors?
      22       foundations might contribute money, you're aware of        22   A. I think the DIA does.
      23       her statements?                                            23   Q. Has more than the Charles H. Wright?
      24   A. Yes, I'm aware of those statements.                         24   A. Yes.
      25   Q. Okay, do you have any reason to dispute those               25   Q. Do you know if it has substantially more visitors?


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